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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


ANNIE LOIS GRANT; QUENTIN T.
                                              CIVIL ACTION FILE
HOWELL; ELROY TOLBERT; TRIANA
ARNOLD JAMES; EUNICE SYKES;                   NO. 1:22-CV-00122-SCJ
ELBERT SOLOMON; DEXTER
WIMBISH; GARRETT REYNOLDS;
JACQUELINE FAYE ARBUTHNOT;
JACQUELYN BUSH; and MARY NELL
CONNER,
            Plaintiffs,

      v.
BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State;
WILLIAM S. DUFFEY, JR., in his official
capacity as chair of the State Election
Board; MATTHEW MASHBURN, in his
official capacity as a member of the State
Election Board; SARA TINDALL
GHAZAL, in her official capacity as a
member of the State Election Board;
EDWARD LINDSEY, in his official
capacity as a member of the State Election
Board; and JANICE W. JOHNSTON, in
her official capacity as a member of the
State Election Board,

            Defendants.


   PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF THEIR
        MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                 INTRODUCTION
      The Supreme Court’s decision in Allen v. Milligan confirms that Plaintiffs

have satisfied the familiar requirements of Thornburg v. Gingles that “ha[ve]

governed our Voting Rights Act jurisprudence since it was decided 37 years ago.”

Allen v. Milligan, No. 21-1086, ---U.S.----, ---S. Ct.----, 2023 WL 3872517, at *10

(June 8, 2023).

      In satisfaction of the first Gingles precondition, Plaintiffs introduced

reasonably configured illustrative plans, showing “it is possible that the State’s map

has a disparate effect on account of race.” Id. at *13 (emphasis in original). As to the

second and third Gingles preconditions, there is no material dispute that Black

Georgians in the metropolitan Atlanta region and the Black Belt are “politically

cohesive” and that “the white majority” in those areas “votes sufficiently as a bloc

to enable it . . . to defeat the minority’s preferred candidate.” Id. at *9 (quoting

Thornburg v. Gingles, 478 U.S. 30, 51 (1986)). Plaintiffs’ unrebutted evidence thus

satisfies these preconditions under the Section 2 standard that has existed for the past

four decades and as reaffirmed and applied by the Court in Allen.1


1
 Plaintiffs focus their argument in this brief on Allen’s application of the Gingles
preconditions. See Hr’g Tr. at 44–45 (May 18, 2023), Ex. 1 (noting that “[i]f the
Court determines that the totality analysis requires fact finding or the weighing of
evidence or a variety of inferences, it remains free to issue summary judgment on

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      Rather than rebutting Plaintiffs’ evidence, Defendants attempted to transform

this “intensely local appraisal” into a thicket of novel prerequisites and bars to

relief—requiring race-blind map drawing and proof of causation. But Allen

forecloses Defendants’ attempts to prevail under a revised interpretation of Section

2 that never came to pass.

      Allen “reiterat[es] that §2 turns on the presence of discriminatory effects, not

discriminatory intent.” Allen, 2023 WL 3872517, at *13; see also id. at *22

(Kavanaugh, J. concurring) (“[A]s this Court has long recognized—and as all

Members of this Court today agree—the text of §2 establishes an effects test, not an

intent test.”). It makes clear that race consciousness does not equate to racial

predominance. Id. at *15–16 (plurality opinion). And it reaffirms that proof of

racially polarized voting satisfies the second and third Gingles preconditions without

showing that the racial polarization is caused by racial motives rather than partisan

ones. Id. at *11.

      Defendants cannot prevail under the familiar Gingles framework because they

hardly made any evidentiary showing at all. Their defense of the enacted maps




the undisputed fact[s] of the Gingles preconditions, and . . . reserve for trial the
ultimate determination of liability. . . . Gingles is an objective, straightforward
test.”).

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hinged entirely on their hope that the law was going to change. It didn’t. Allen

confirmed that this Court properly applied the Gingles framework at the preliminary

injunction phase and that Defendants’ arguments are entirely unfounded.

                                    ARGUMENT

   I.      Allen confirms that Black Georgians in the Atlanta metropolitan area
           and the Black Belt can constitute a voting majority in reasonably
           configured legislative districts.
        Allen makes clear that Plaintiffs have satisfied the first Gingles precondition

with respect to six of their eight illustrative districts by showing that Black Georgians

in the Atlanta metropolitan area and the Black Belt are “‘sufficiently large and

geographically compact to constitute a majority in a reasonably configured district.’”

Allen, 2023 WL 3872517, at *9 (alteration adopted) (quoting Wis. Legis. v. Wis.

Elections Comm’n, 142 S. Ct. 1245, 1248 (2022) (per curiam)).

        Defendants have already conceded that Georgia’s Black population is

sufficiently numerous to create three additional majority-Black districts in the Senate

plan and five additional majority-Black districts in the House plan. Statement of

Undisputed Material Facts in Supp. of Pls.’ Mot. for Partial SJ (“SUMF”) ¶¶ 17, 30

(Mar. 20, 2023), ECF No. 189-2; Expert Rep. of Blakeman B. Esselstyn (“Esselstyn

Rep.”) ¶¶ 13, 17, 63 (Mar. 20, 2023), ECF No. 191-1; Dep. of John B. Morgan

(“Morgan Dep.”) at 73:17–75:4, 164:8–165:14, 197:15–19 (Mar. 17, 2023), ECF


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No. 177. Instead of refuting Plaintiffs’ evidence that Mr. Esselstyn complied with

traditional redistricting criteria in creating these districts, Defendants instead

quibbled that Mr. Esselstyn must have considered race as a predominant factor.

Defs.’ Br. in Supp. of Mot. for Partial SJ (“Defs.’ SJ Br.”) at 19–21 (Mar. 20, 2023),

ECF No. 190-1. But Allen makes clear that Defendants’ criticisms are unfounded.

Mr. Esselstyn’s illustrative districts are reasonably configured because they comply

with traditional redistricting criteria. SUMF ¶¶ 42, 45–46; Esselstyn Rep. ¶¶ 25, 33.

And contrary to Defendants’ repeated refrain, race did not predominate in Mr.

Esselstyn’s illustrative plans, as mere awareness of race is insufficient to establish

predominance. Plaintiffs have thus satisfied the first Gingles precondition with

respect to six of the eight illustrative districts.

       A. Mr. Esselstyn’s illustrative districts are reasonably configured.

       Mr. Esselstyn’s illustrative districts are “reasonably configured” because they

indisputably “comport[] with traditional districting criteria.” Allen, 2023 WL

3872517, at *9. In Allen, the Court concluded that the experts’ plans were reasonably

configured because their districts were compact, had no obvious irregularities, had

equal populations, were contiguous, and respected existing political subdivisions.

Id. at *10. Here, Mr. Esselstyn’s illustrative plans undoubtedly comport with the

same criteria.

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      Compactness. Allen concluded that one of the expert’s plans was compact

because its “districts [were] roughly as compact as the existing plan.” Id. So too here.

The mean compactness measures for Mr. Esselstyn’s illustrative plans are

comparable—if not identical—to the mean measures for the enacted plans. SUMF

¶¶ 53, 68; Esselstyn Rep. ¶¶ 36, 57, tbls.2 & 6; Morgan Dep. 90:6–17, 168:6–11.

The individual compactness scores for Mr. Esselstyn’s additional majority-Black

districts fall within the range of compactness scores of the enacted districts using the

Reock, Schwartzberg, Polsby-Popper and Area/Convex Hull measures; in other

words, each of Mr. Esselstyn’s additional majority-Black districts is more compact

than the least-compact enacted districts. SUMF ¶¶ 54–56, 69–71; Esselstyn Rep. ¶¶

37, 58, figs.8 & 17, tbls.3 & 7, attachs. H & L; see also Order Denying Mot. for

Prelim. Inj. (“PI Order”) at 110–15, 135–39 (Feb. 28, 2022), ECF No. 91. And

Defendants’ mapping expert, John Morgan, does not dispute that Mr. Esselstyn’s

illustrative plans are similarly compact as the enacted plans. See Expert Rep. of John

Morgan (“Morgan Rep.”) ¶¶ 22, 50 (Apr. 19, 2023), ECF No. 203-2.

      No obvious irregularities. Allen explained that the experts’ plans lacked

“tentacles, appendages, bizarre shapes, or any other obvious irregularities that would

make it difficult to find them sufficiently compact.” Allen, 2023 WL 3872517, at *10




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(internal quotation marks omitted). Here, Mr. Esselstyn’s illustrative districts

similarly lack any obvious irregularities, and Defendants have not argued otherwise.

      Equal population. Allen observed that the experts’ plans “contained equal

populations.” Id. In Mr. Esselstyn’s illustrative State Senate and House plans, most

district populations are within plus-or-minus 1% of the ideal, and no district in either

plan has a population deviation of more than 2%. Pls.’ Statement of Additional

Material Facts (“SAMF”) ¶¶ 9–14 (Apr. 19, 2023), ECF No. 205; Esselstyn Rep.

¶¶ 34, 55, attachs. H & L. Both plans fall well within the accepted bounds of

constitutionality. See Evenwel v. Abbott, 578 U.S. 54, 60 (2016) (“Where the

maximum population deviation between the largest and smallest district is less than

10%, the Court has held, a state or local legislative map presumptively complies with

the one-person, one-vote rule.”).

      Contiguity. The districts in Mr. Esselstyn’s illustrative plans satisfy the

contiguity requirement in the same manner as the enacted plans. SUMF ¶¶ 50, 67;

Esselstyn Rep. ¶¶ 35, 56; see also PI Order at 115, 139.

      Political Subdivisions. Allen held that the experts’ plans “respected existing

political subdivisions, such as counties, cities, and towns.” Allen, 2023 WL 3872517,

at *10. Here, Mr. Esselstyn’s illustrative plans split only marginally more counties




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and voting districts than the enacted plans. SUMF ¶¶ 57, 72; Esselstyn Rep. ¶¶ 39,

59, tbls.4 & 8, attachs. H & L; see also PI Order at 115–18, 139–42.

                                           ***

         Mr. Esselstyn’s illustrative plans are thus reasonably configured because they

comport with the same “traditional districting criteria” that the Court approved in

Allen.

   B. Race does not predominate in Mr. Esselstyn’s illustrative maps.

         Allen requires rejection of Defendants’ argument that race predominates in

Mr. Esselstyn’s illustrative plans. Moreover, because no majority of the Allen Court

endorsed a new standard for assessing racial predominance, the Eleventh Circuit’s

decision in Davis v. Chiles, 139 F.3d 1414 (11th Cir. 1998), remains good law, and

it too compels the conclusion that race does not predominate in Mr. Esselstyn’s

illustrative plans.

   1. Allen concludes that mere awareness of racial considerations is
      insufficient to establish predominance.

         Allen’s conclusion that “in the context of districting . . . aware[ness] of racial

considerations . . . is permissible,” Allen, 2023 WL 3872517, at *15 (plurality

opinion) (internal quotation marks omitted), forecloses Defendants’ argument that

race predominates in Mr. Esselstyn’s illustrative plans merely because he “at some

point” displayed the Black voting-age populations for the geographic areas in which
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he was working. SAMF ¶ 1; Dep. of Blakeman Esselstyn (“Esselstyn Dep.”) at

76:21–77:6 (Mar. 17, 2023), ECF No. 179. Allen recognized that “[t]he question

whether additional majority-minority districts” can be drawn “involves a

‘quintessentially race-conscious calculus.’” Allen, 2023 WL 3872517, at *15

(plurality opinion) (quoting Johnson v. De Grandy, 512 U.S. 997, 1020 (1994))

(emphasis in original)). Consequently, “[t]he contention that mapmakers must be

entirely ‘blind’ to race has no footing in our § 2 case law.” Id. at *16 (plurality

opinion). The Supreme Court has “long drawn” a line “between consciousness and

predominance.” Id. (plurality opinion). Race predominates when “‘race-neutral

considerations come into play only after the race-based decision had been made.”

Id. at *15 (plurality opinion) (alteration adopted) (quoting Bethune-Hill v. Va. State

Bd. of Elections, 580 U. S. 178, 189 (2017)).

      Here, as in Allen, race did not predominate because Mr. Esselstyn gave “equal

weighting” to “several other factors” including “compactness, contiguity, and

population equality.” Id. (plurality opinion); see also PI Order at 125–28, 149–152.

Mr. Esselstyn attested that neither race nor any other single factor predominated in

the drawing of his illustrative plans, SAMF ¶ 7; Esselstyn Rep. ¶ 25. At most, the

undisputed evidence indicates that Mr. Esselstyn utilized racial information to




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inform his mapping decision, which is perfectly acceptable under Allen. SAMF ¶ 8;

Esselstyn Dep. at 77:20–25.

   2. Davis also forecloses a finding of racial predominance.

      Because no majority of the Allen Court announced a new standard for finding

racial predominance, Davis remains binding in this Circuit, and Davis likewise

compels the conclusion that mere awareness of race is insufficient to establish

predominance.

      Davis rejected the argument that race predominates in a remedial plan merely

because “race was a factor” in the mapmaker’s “process of designing the proposed”

remedy. Davis, 139 F.3d at 1426. Instead, it recognized that Section 2 “require[s]

plaintiffs to show that it would be possible to design an electoral district, consistent

with traditional districting principles, in which minority voters could successfully

elect a minority candidate.” Id. at 1425. Thus, “[t]o penalize [plaintiffs] for

attempting to make the very showing that Gingles [and its progeny] demand would

be to make it impossible, as a matter of law, for any plaintiff to bring a successful

Section Two action.” Id. Davis held that race does not predominate when a

mapmaker “adhere[s] . . . to traditional redistricting criteria,” testifies that “race was

not the predominant factor motivating his design process,” and explains that he never

sought to “maximize the number of majority-minority” districts. Id. at 1426.

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         Here, Mr. Esselstyn adhered to traditional redistricting criteria, see supra at

4–7. He attested that neither race nor any other single factor predominated in the

drawing of his illustrative plans. SAMF ¶ 7; Esselstyn Rep. ¶ 25. And he did not

attempt to maximize the number of majority-Black districts in his illustrative plans.

SAMF ¶ 4; Esselstyn Dep. at 229:2–5. Allen and Davis thus require the Court to find

that race does not predominate in Mr. Esselstyn’s illustrative plan.

   II.      Allen confirms that Plaintiffs have indisputably satisfied the second
            and third Gingles preconditions.
         Plaintiffs have satisfied the second and third Gingles preconditions because

Black Georgians in the Atlanta metropolitan area and the Black Belt are “politically

cohesive” and “the white majority votes sufficiently as a bloc to enable it . . . to

defeat the minority’s preferred candidate.” See Allen, 2023 WL 3872517, at *9

(quoting Gingles, 478 U.S. at 51). The second precondition, “concerning the political

cohesiveness of the minority group, shows that a representative of its choice would

in fact be elected.” Id. “The third precondition, focused on racially polarized voting,

‘establishes that the challenged districting thwarts a distinctive minority vote’ at

least plausibly on account of race.” Id. (quoting Growe v. Emison, 507 U. S. 25, 40

(1993)). Satisfying these preconditions creates the inference that polarization is on

account of race. See Nipper v. Smith, 39 F.3d 1494, 1525–26 (11th Cir. 1994) (en

banc).
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      Defendants did not dispute the material facts that support Plaintiffs’

satisfaction of the second and third Gingles preconditions. Defendants instead

argued that they were entitled to summary judgment because Plaintiffs failed to

prove that the racial polarization was caused by racial motives rather than partisan

ones. See, e.g., Defs.’ Reply Br. at 11 (May 3, 2023), ECF No. 215 (“This is not a

factual dispute because everyone agrees on the facts. It is only the conclusion drawn

from those facts that is at issue.”). Defendants even argued that Section 2’s well-

settled effects test is unconstitutional. Br. in Supp. of Defs.’ MSJ (“Defs.’ Mot.”) at

30–32 (Mar. 20, 2023), ECF No. 190-1. But Allen rejected Defendants’ “attempt[ ]

to remake . . . §2 jurisprudence anew.” Allen, 2023 WL 3872517, at *11. Instead, it

confirmed that the second and third Gingles preconditions are straightforward,

objective inquiries that do not include a causation requirement. Id. Plaintiffs’

undisputed evidence of racially polarized voting easily satisfies the second and third

Gingles preconditions.

   A. The record contains undisputed evidence of racially polarized voting.

      Plaintiffs’ undisputed evidence of racially polarized voting is just as strong as

the evidence submitted in Allen. There, “Black voters supported their candidates of

choice with 92.3% of the vote” while “white voters supported Black-preferred

candidates with 15.4% of the vote.” Id. (internal quotation marks omitted) (citation

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omitted). Even the state’s expert in that case conceded that “the candidates preferred

by white voters in the areas that he looked at regularly defeat the candidates preferred

by Black voters.” Id. (internal quotation marks omitted).

      Here, Dr. Palmer found that Black voters in the focus areas are extremely

cohesive, with a clear candidate of choice in all 40 elections he examined—a

conclusion with which Defendants’ expert, Dr. John Alford, readily agreed. SUMF

¶ 87; Expert Rep. of Dr. Maxwell Palmer (“Palmer Rep.”) ¶ 18, fig.2, tbls. 1, 2, 3,

4, 5 & 6 (Mar. 20, 2023), ECF No. 191-2; Suppl. Expert Rep. of Dr. Maxwell Palmer

(“Suppl. Palmer Rep.”) ¶ 6, fig.1, tbl.1 (Mar. 20, 2023), ECF No. 191-3; Expert Rep.

of Dr. John R. Alford (“Alford Rep.”) at 3 (Mar. 20, 2023), ECF No. 191-7; Dep. of

Dr. John Alford (“Alford Dep.”) at 37:13–15 (Mar. 17, 2023), ECF No. 178. Across

the focus area, Black voters supported their candidates of choice with an average of

98.5% of the vote, a finding reflected in each constituent State Senate and House

district. SUMF ¶¶ 88–90; Palmer Rep. ¶¶ 16, 18–19 & nn.14–15, fig.3, tbls.1 & 7.

Plaintiffs therefore satisfy the second Gingles precondition. See 478 U.S. at 56 (“A

showing that a significant number of minority group members usually vote for the

same candidates is one way of proving [] political cohesiveness[.]”); see also PI

Order at 186–87 (concluding that “Plaintiffs have met their burden to establish the

second Gingles precondition”).

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      Dr. Palmer also found high levels of white bloc voting in opposition to the

candidates whom Black voters cohesively supported—another finding Dr. Alford

did not dispute. SUMF ¶ 91; Palmer Rep. ¶ 18, fig.2, tbl.1; Suppl. Palmer Rep. ¶ 6,

fig.1, tbl.1; Alford Report 3; Alford Dep. 38:20–39:8. On average, only 8.3% of

white voters supported Black-preferred candidates, and in no election did white

support exceed 17.7%. SUMF ¶ 92; Palmer Rep. ¶ 18. SUMF ¶ 91; Palmer Rep. ¶

18, fig.2, tbl.1; Suppl. Palmer Rep. ¶ 6, fig.1, tbl.1; Alford Report 3; Alford Dep.

38:20–39:8. These findings were confirmed by the endogenous results from the 2022

midterms, in which Black-preferred legislative candidates were defeated in every

majority-white district and elected in every majority-Black district in the focus areas.

SUMF ¶ 97; Suppl. Palmer Rep. ¶ 5, tbl.2.

      In short, Black voters’ candidates of choice are consistently defeated in the

focus areas by white bloc voting, except where Black voters make up a majority of

eligible voters—thus satisfying the third Gingles precondition. See 478 U.S. at 68

(“Bloc voting by a white majority tends to prove that blacks will generally be unable

to elect representatives of their choice.”); see also PI Order at 200–01 (concluding

that “Plaintiffs have satisfied their burden under the third Gingles precondition”).




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   B. Section 2 does not require Plaintiffs to prove that racially polarized
      voting results from racial motivations.

      Rather than disputing Plaintiffs’ evidence of racially polarized voting,

Defendants “attempt[ed] to remake . . . §2 jurisprudence anew,” Allen, 2023 WL

3872517, at *11, by contending that the second and third Gingles preconditions

require Plaintiffs to prove that racially polarized voting is caused by racially

discriminatory motives. See, e.g., Defs.’ Reply Br. at 13 (“Plaintiffs claim

Defendants improperly require them to prove [that] race, not party, is the cause of

polarization. But this is precisely their burden of proof.” (internal quotation marks

omitted)). But Allen squarely rejected this argument. It confirmed that Supreme

Court “precedents and the legislative compromise struck in the 1982 amendments

clearly rejected treating discriminatory intent as a requirement for liability under

§2.” Allen, 2023 WL 3872517, at *19.

      Allen also “reiterat[ed] that §2 turns on the presence of discriminatory effects,

not discriminatory intent.” Id. at *13; see also id. (“‘Congress . . . used the words

‘on account of race or color’ in the Act to mean ‘with respect to’ race or color, and

not to connote any required purpose of racial discrimination.’” Id. (quoting Gingles,

478 U. S., at 71, n. 34 (plurality opinion))). Thus, Allen makes clear that Defendants

were wrong when they argued that “establishing racial polarization requires

something more than just different races voting for different parties.” Defs.’ Reply
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Br. at 9. These principles foreclose Defendants’ repeated protestations that Plaintiffs

cannot satisfy the second and third Gingles preconditions without showing that

racially polarized voting in the focus area is motivated by race rather than

partisanship or any other factor.

   C. Allen reiterates that Section 2’s effects test is constitutional.

      Allen also rejected Defendants’ arguments that Section 2 is unconstitutional.

See Defs.’ Mot. at 30–32. For nearly sixty years, the Supreme Court has held and

reaffirmed that “[t]he VRA’s ‘ban on electoral changes that are discriminatory in

effect . . . is an appropriate method of promoting the purposes of the Fifteenth

Amendment.’” Allen, 2023 WL 3872517, at *21 (quoting City of Rome v. United

States, 446 U.S. 156, 177 (1980)); accord South Carolina v. Katzenbach, 383 U.S.

308–309, 329–337 (1966). Allen also recognized that proper application of the

Gingles framework alleviates the equal protection concern that Defendants raised

because federal courts have “authorized race-based redistricting as a remedy for state

districting maps that violate § 2” for four decades. Allen, 2023 WL 3872517, at *21.

No constitutional considerations arise unless race predominates in a remedial map,

and for the reasons discussed in Allen, those concerns are not present here. See id. at

*23 (Kavanaugh, J., concurring) (“Alabama asserts that §2, as construed by Gingles

to require race-based redistricting in certain circumstances, exceeds Congress’s

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remedial or preventive authority under the Fourteenth and Fifteenth Amendments.

As the Court explains, the constitutional argument presented by Alabama is not

persuasive in light of the Court’s precedents.”). Accordingly, Defendants’

constitutionality arguments fail.

                                    CONCLUSION

      Plaintiffs have satisfied the Gingles preconditions as to six of Mr. Esselstyn’s

eight illustrative state legislative districts. Defendants’ arguments on summary

judgment relied on their subjective expectation that the U.S. Supreme Court might

upend settled Section 2 precedent. The Court refused to do so. The Court’s decision

in Allen reaffirmed that the familiar requirements of Thornburg v. Gingles remain

good law, and applying Allen to the undisputed material facts in this case shows that

Plaintiffs are entitled to summary judgment on the Gingles preconditions as to six of

the eight illustrative districts. Plaintiffs respectfully request that the Court enter

partial summary judgment in their favor on, at the very least, the three Gingles

preconditions, and allow the rest of Plaintiffs’ claims to proceed to trial.




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Dated: June 22, 2023                Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Plaintiffs’ Supplemental Brief in Support

of Their Motion for Partial Summary Judgment has been prepared in accordance

with the font type and margin requirements of LR 5.1, NDGa, using font type of

Times New Roman and a point size of 14.


Dated: June 22, 2023                      Adam M. Sparks
                                          Counsel for Plaintiffs




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this date caused to be electronically filed a copy

of the foregoing Plaintiffs’ Supplemental Brief in Support of Their Motion for Partial

Summary Judgment with the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to counsel of record.


Dated: June 22, 2023                        Adam M. Sparks
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